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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In Re:                                              :     Chapter 11

MAJESTIC HILLS, LLC,                                :     Case No.: 20-21595-GLT

                 Debtor.                        :
                _____________________________________________________________

                                    VERIFIED STATEMENT

         I, Kathleen A. Gallagher, pursuant to Federal Rule of Bankruptcy Procedure 2019, declare

under penalty of perjury pursuant to 28 U.S.C. § 1746 that:

         1.      I am an attorney with the law firm of Porter Wright Morris & Arthur LLP

(“PWMA”) with offices at 6 PPG Place, Third Floor, Pittsburgh, PA 15222.

         2.      This verified statement is filed in accordance with Rule 2019 of the Bankruptcy

Rules of Procedure.

         3.      PWMA has been retained as counsel for NVR, Inc. d/b/a Ryan Homes (“NVR”)

and the North Strabane Township (the “Township,” and together with NVR, collectively the

“Creditors”).

         4.      The address for NVR is 11700 Plaza America Drive, Suite 500, Reston, VA 20190.

         5.      The address for the Township is 1929 Route 519, Canonsburg, PA 15317.

         6.      Pursuant to that certain Lot Purchase Agreement (“LPA”) entered into by and

between NVR and Debtor on December 23, 2004, NVR contracted with Debtor to develop and

sell to NVR certain residential building lots (the “Property”) located in the Township. The LPA

required, inter alia, that the Lots meet certain specifications, including but not limited to precise

specifications to make the lots within the Property buildable. The LPA further required that Debtor

comply with all development requirements of the Township.
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        7.      As the result of the conduct of Debtor and certain non-debtors, a catastrophic earth

movement occurred at the Property in which homes were destroyed, their owners displaced, and a

community was threatened. The Township has had to expend millions of dollars to address the

infrastructure that was damaged by the earth movement. NVR has also incurred damages in excess

of $1.75 million dollars.

        8.      Multiple parties have filed claims against one another arising out the conduct of

Debtor at the Property as directed by JND Properties, Inc., Joseph DeNardo, Shari DeNardo, and

Parkridge Development, LLC (the “Non-Debtor Control Group”) and the resulting millions of

dollars in damages. PWMA represents NVR in the United States District Court for the Western

District of Pennsylvania, case styled NVR, Inc. d/b/a Ryan Homes v. Majestic Hills, LLC, civil

action number 2:18-cv-1335 (the “District Court Litigation”). Debtor has attempted to remove the District

Court Litigation to this Court.

        9.      PWMA represents the Township in claims that are pending against Debtor, the

Non-Debtor Control Group, Pennsylvania Soil & Rock Inc., its employee Mr. Mark Brashear,

Alton Industries, Inc., and engineering company Morris Knowles & Associates, Inc., in the Court

of Common Pleas of Washington County. The Township and the Township’s Municipal Authority

have incurred the cost of repairing the hillside, the roads, and utilities within the Property—

spending millions of dollars in taxpayer money (the “State Court Litigation”). Debtor has removed

the State Court Litigation to this Court.

        10.     The Creditors hold claims in varying amounts relating to the catastrophic earth

movement that occurred at the Property.

        11.     PWMA has been retained directly by each of the Creditors. PWMA has filed a

joint notice of appearance on behalf of NVR and the Township. The Creditors are each fully




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advised of PWMA’s concurrent representation and have each agreed to such concurrent

representation.

       12.        PWMA does not hold any claims against or interest in Debtor.

       13.        Nothing contained in this Verified Statement is intended or shall be construed to

constitute (i) a waiver or release of the rights of the Creditors to have any final order entered by,

or other exercise of the judicial power of the United States performed by, an Article III court;

(ii) a waiver or release of the rights of the Creditors to have any and all final orders in any and all

non-core matters entered only after de novo review by a United States District Judge; (iii) consent

to the jurisdiction of the Court over any matter; (iv) an election of remedy; (v) a waiver or release

of any rights the Creditors may have to a jury trial; (vi) a waiver or release of the right to move to

withdraw the reference with respect to any matter or proceeding that may be commenced in the

Chapter 11 case against or otherwise involving the Creditors; or (vii) a waiver or release of any

other rights, claims, actions, defenses, setoffs or recoupments to which the Creditors may be

entitled, in law or in equity, under any agreement or otherwise, with all of which rights, claims,

actions, defenses, setoffs or recoupments being expressly reserved.

       14.        PWMA reserves the right to amend or supplement this Verified Statement in

accordance with the requirements of Bankruptcy Rule 2019.

Dated: June 8, 2020                                    /s/ Kathleen A. Gallagher
                                                       Kathleen A. Gallagher
                                                       Porter Wright Morris & Arthur LLP
                                                       6 PPG Place, Third Floor
                                                       Pittsburgh, PA 15222
                                                       Phone: (412) 235-4500
                                                       Counsel for NVR, Inc. d/b/a Ryan Homes
                                                       and North Strabane Township




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